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                    Exhibit 10
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             Exhibit 10
Claim 7 of U.S. Patent No. 10,447,450




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                               Case 2:22-cv-11402-TGB ECF No. 1-10, PageID.225 Filed 03/29/22 Page 3 of 21
                                                            U.S. Patent No. 10,447,450: Claim 7(a)
  "7. A mobile device in a wireless packet system using a frame structure of multiple frames for transmission, each frame comprising a plurality of time
intervals, each time interval comprising a plurality of orthogonal frequency division multiplexing (OFDM) symbols, and each OFDM symbol containing a
                                            plurality of frequency subcarriers, the mobile device configured to"
7. A mobile device in a wireless packet Ford’s Accused Products include vehicles equipped with components and/or devices that enable connectivity
system using a frame structure of multiple to 4G/LTE networks and services, including services sold and provided by Ford.
frames for transmission, each frame
comprising a plurality of time intervals, To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of the ’450
each time interval comprising a plurality of patent. E.g.,
orthogonal         frequency       division
multiplexing (OFDM) symbols, and each A release 8 compliant Long Term Evolution (LTE) user equipment (UE) uses a frame structure that is 10 ms
OFDM symbol containing a plurality of long with ten subframes, time intervals, of 1 ms long each. Each subframe includes two slots.
frequency subcarriers, the mobile device
configured to:




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                               Case 2:22-cv-11402-TGB ECF No. 1-10, PageID.226 Filed 03/29/22 Page 4 of 21
                                                            U.S. Patent No. 10,447,450: Claim 7(a)
  "7. A mobile device in a wireless packet system using a frame structure of multiple frames for transmission, each frame comprising a plurality of time
intervals, each time interval comprising a plurality of orthogonal frequency division multiplexing (OFDM) symbols, and each OFDM symbol containing a
                                            plurality of frequency subcarriers, the mobile device configured to"
                                              See e.g., 3GPP TS 36.300 V8.12.0 at pg. 23.

                                            The LTE downlink uses orthogonal frequency division multiplexing (OFDM). During a subframe, multiple
                                            OFDM symbols are transmitted.




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25.

                                            A subframe contains two slots, and in each slot multiple OFDM symbols are transmitted. Each symbol
                                            includes a plurality of subcarriers.




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                                                            U.S. Patent No. 10,447,450: Claim 7(a)
  "7. A mobile device in a wireless packet system using a frame structure of multiple frames for transmission, each frame comprising a plurality of time
intervals, each time interval comprising a plurality of orthogonal frequency division multiplexing (OFDM) symbols, and each OFDM symbol containing a
                                            plurality of frequency subcarriers, the mobile device configured to"

                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 45.




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                                                           U.S. Patent No. 10,447,450: Claim 7(b)
                              "receive an identifier from a base station in a cell in which the mobile device is operating; and"
receive an identifier from a base station in Ford’s Accused Products receive an identifier from a base station in a cell in which the mobile device is
a cell in which the mobile device is          operating. E.g.,
operating; and
                                              The UE receives a cell radio network temporary identifier (C-RNTI) from an eNodeB, LTE base station.




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                             U.S. Patent No. 10,447,450: Claim 7(b)
"receive an identifier from a base station in a cell in which the mobile device is operating; and"
                See e.g., 3GPP TS 36.300 V8.12.0 at pg. 52-53.




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                             U.S. Patent No. 10,447,450: Claim 7(b)
"receive an identifier from a base station in a cell in which the mobile device is operating; and"




                See e.g., 3GPP TS 36.300 V8.7.0 at pgs. 54 and 55.

                The C-RNTI is an identifier used to identify the UE at the cell level.




                See e.g., 3GPP TS 36.300 V8.12.0 at pg. 39.




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                              Case 2:22-cv-11402-TGB ECF No. 1-10, PageID.231 Filed 03/29/22 Page 9 of 21
                                                          U.S. Patent No. 10,447,450: Claim 7(c)
                        "receive a signal containing information from the base station over a segment of time-frequency resource,"
receive a signal containing information       Ford’s Accused Products receive a signal containing information from the base station over a segment of time-
from the base station over a segment of       frequency resource. E.g.,
time-frequency resource,
                                              Resource information is sent from the base station to the UE over a physical downlink control channel
                                              (PDCCH).

                                              ...


                                              ...




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 24.


                                            The PDCCH carries downlink control information (DCI), a control message.




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                                            See e.g., 3GPP TS 36.212 V8.8.0 at pg. 8.




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     Case 2:22-cv-11402-TGB ECF No. 1-10, PageID.232 Filed 03/29/22 Page 10 of 21
                                  U.S. Patent No. 10,447,450: Claim 7(c)
"receive a signal containing information from the base station over a segment of time-frequency resource,"
                     See e.g., 3GPP TS 36.212 V8.8.0 at pg. 43.
                     The PDCCH is received over the first n OFDM symbols, wherein n ≤ 4. A PDCCH is formed by an
                     aggregation of control channel elements (CCEs). Each CCE consists of a set of resource elements.




                     See e.g., 3GPP TS 36.300 V8.12.0 at pg. 26.

                     Resource elements make up a resource grid that defines a resource block that is transmitted during a slot, each
                     resource element being uniquely identifiable by an index pair (k, l).




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                                  U.S. Patent No. 10,447,450: Claim 7(c)
"receive a signal containing information from the base station over a segment of time-frequency resource,"




                     See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 45-46.

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                                  U.S. Patent No. 10,447,450: Claim 7(c)
"receive a signal containing information from the base station over a segment of time-frequency resource,"
                      Resource-element groups are used for defining the mapping of the PDCCH to resource elements.




                    See e.g., 3GPP TS 36.211 V8.9.0 at pg. 48.

                    A PDCCH is an aggregation of CCEs. Each CCE corresponds to 9 resource element groups that map the
                    PDCCH to resource element that define a segment of time-frequency resource.




                    See e.g., 3GPP TS 36.211 V8.9.0 at pg. 58.




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                                               U.S. Patent No. 10,447,450: Claim 7(d)
                                      "the segment having a starting time-frequency coordinate"
the segment having a starting time- The segment over which the signal containing information from the base station is received by Ford’s Accused
frequency coordinate                Products has a starting time-frequency coordinate. E.g.,

                                         The PDCCH has a starting time-frequency coordinate. It starts at a CCE fulfilling i mod n = 0, where i is the
                                         CCE number. The CCE corresponds to resource element groups which map CCEs to resource elements, which
                                         are uniquely identified by a time-frequency index pair.




                                         See e.g., 3GPP TS 36.211 V8.9.0 at pg. 58.




                                         See e.g., 3GPP TS 36.211 V8.9.0 at pg. 48.


                                         The PDCCH is located in the first n OFDM symbols, starting at the first symbol.


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                       U.S. Patent No. 10,447,450: Claim 7(d)
              "the segment having a starting time-frequency coordinate"




            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 26.




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                                                       U.S. Patent No. 10,447,450: Claim 7(e)
 "the segment comprising N time-frequency resource units within a time interval, each unit containing a set of frequency subcarriers in a group of OFDM
                                                         symbols, where N=2, 4, or 8; and"
the segment comprising N time-frequency The segment over which the signal containing information from the base station is received by Ford’s Accused
resource units within a time interval, each Products comprises N time-frequency resource units within a time interval, each unit containing a set of
unit containing a set of frequency          frequency subcarriers in a group of OFDM symbols, where N=2, 4, or 8. E.g.,
subcarriers in a group of OFDM symbols,
where N=2, 4, or 8; and                     The PDCCH comprises 2 CCEs for a PDCCH format 1, 4 CCEs for a PDCCH format 2, and 8 CCEs for a
                                            PDCCH format 3. The PDCCH comprises 2, 4, or 8 CCEs depending on the aggregation level.




                                           See e.g., 3GPP TS 36.211 V8.9.0 at pg. 58.

                                           Each CCE is a set of 36 resource elements, which are a set of frequency subcarriers in a group of OFDM
                                           symbols.




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                                                      U.S. Patent No. 10,447,450: Claim 7(e)
"the segment comprising N time-frequency resource units within a time interval, each unit containing a set of frequency subcarriers in a group of OFDM
                                                        symbols, where N=2, 4, or 8; and"




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                                                      U.S. Patent No. 10,447,450: Claim 7(e)
"the segment comprising N time-frequency resource units within a time interval, each unit containing a set of frequency subcarriers in a group of OFDM
                                                        symbols, where N=2, 4, or 8; and"

                                           See e.g., 4G LTE-Advanced Pro and The Road to 5G, Third Edition, Dahlman et al.. at pgs. 141-142.

                                           The PDCCH is received during the control region of a subframe which is the initial time interval of the
                                           subframe. The number of OFDM symbols constituting this region, or the duration of the time interval, is
                                           signalled on the Physical Control Format Indicator Channel (PCFICH). The time interval of the control region
                                           can be 1-4 OFDM symbols in length, but typically is 1-3 OFDM symbols in length.




                                           See e.g., 3GPP TS 36.211 V8.9.0 at pg. 58.




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                                                      U.S. Patent No. 10,447,450: Claim 7(e)
"the segment comprising N time-frequency resource units within a time interval, each unit containing a set of frequency subcarriers in a group of OFDM
                                                        symbols, where N=2, 4, or 8; and"




                                           See e.g., 4G LTE-Advanced Pro and The Road to 5G, Third Edition, Dahlman et al.. Section 6.4 Downlink
                                           L1/L2 Control Signaling.




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                                                          U.S. Patent No. 10,447,450: Claim 7(f)
    "recover the information from the received signal using the starting time-frequency coordinate and N in conjunction with the received identifier."
recover the information from the received Ford’s Accused Products also recover the information from the received signal using the starting time-
signal using the starting time-frequency frequency coordinate and N in conjunction with the received identifier. E.g.,
coordinate and N in conjunction with the
received identifier.                         The PDCCH is recovered by the UE using the first OFDM symbol of the first n OFDM symbols and
                                             subcarriers corresponding to the resource elements mapped to the CCEs of the PDCCH. The UE uses N, the
                                             number of CCEs, to receive the full PDCCH in the supported PDCCH format.




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 26.




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 58.


                                            The UE also uses the RNTI to recover the PDCCH.
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                                                     U.S. Patent No. 10,447,450: Claim 7(f)
"recover the information from the received signal using the starting time-frequency coordinate and N in conjunction with the received identifier."




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                                                     U.S. Patent No. 10,447,450: Claim 7(f)
"recover the information from the received signal using the starting time-frequency coordinate and N in conjunction with the received identifier."




                                         See e.g., 3GPP TS 36.213 V8.8.0 at pgs. 63-64.




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